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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

 UNITED STATES OF AMERICA,                               )
                                                         )
                                 Plaintiff,              )
                                 v.                      )       CAUSE NO.: 3:07-CR-13-PPS
                                                         )
 JESUS J. GARCIA,                                        )
                                 Defendant.              )

           FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
              UPON A PLEA OF GUILTY BY DEFENDANT JESUS J. GARCIA

 TO:     THE HONORABLE PHILIP S. SIMON, JUDGE,
         UNITED STATES DISTRICT COURT

         Upon Defendant Jesus J. Garcia’s request to enter a plea of guilty pursuant to Rule 11 of the

 Federal Rules of Criminal Procedure, this matter came for hearing before the undersigned Magistrate

 Judge Paul R. Cherry, on February 19, 2008, with the consent of Defendant Jesus J. Garcia, counsel

 for Defendant Jesus J. Garcia, and counsel for the United States of America.

         The hearing on Defendant Jesus J. Garcia’s plea of guilty was in full compliance with Rule 11,

 Federal Rules of Criminal Procedure, before the undersigned Magistrate Judge in open court and on

 the record.

         In consideration of that hearing, the statements made by Defendant Jesus J. Garcia under oath

 on the record and in the presence of counsel, and the remarks of the Assistant United States Attorney

 and of counsel for Defendant Jesus J. Garcia,

         I FIND as follows:

         (1) that Defendant Jesus J. Garcia understands the nature of the charge against him to which

 the plea is offered;

         (2) that Defendant Jesus J. Garcia understands his right to trial by jury, to persist in his plea

 of not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses,

 and his right against compelled self-incrimination;
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        (3) that Defendant Jesus J. Garcia understands what the maximum possible sentence is,

 including the effect of the supervised release term, and Defendant Jesus J. Garcia understands that

 the sentencing guidelines apply and that the Court may depart from those guidelines under some

 circumstances;

        (4) that the plea of guilty by Defendant Jesus J. Garcia has been knowingly and voluntarily

 made and is not the result of force or threats or of promises;

        (5) that Defendant Jesus J. Garcia is competent to plead guilty;

        (6) that Defendant Jesus J. Garcia understands that his answers may later be used against him

 in a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Jesus J. Garcia’s plea; and further,

        I RECOMMEND that the Court accept Jesus J. Garcia’s plea of guilty to the offense

 charged in Count I of the Superseding Indictment and that Defendant Jesus J. Garcia be adjudged

 guilty of the offense charged in Count I of the Superseding Indictment and have sentence imposed.

 A Presentence Report has been ordered. Should this Report and Recommendation be accepted and

 Defendant Jesus J. Garcia be adjudged guilty, sentencing has been scheduled for June 6, 2008, at

 9:30 a.m. in the Hammond Division, before Judge Philip Simon. The Court ORDERS the United

 States Marshall to PRODUCE Defendant Jesus J. Garcia for sentencing. Objections to the Findings

 and Recommendation are waived unless filed and served within ten (10) days. 28 U.S.C. §

 636(b)(1)(B).

        So ORDERED this 20th day of February, 2008.


                                                       s/ Paul R. Cherry
                                                       MAGISTRATE JUDGE PAUL R. CHERRY
                                                       UNITED STATES DISTRICT COURT
 cc:    All counsel of record
        Honorable Philip Simon
